Case 2:16-cv-06794-AB-JC Document 178 Filed 02/05/19 Page 1 of 3 Page ID #:8373



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 13
                    IN THE UNITED STATES DISTRICT COURT
 14               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                            (Western Division)
 16   CLIFTON W. MARSHALL, et al.,         Case No. 16-CV-6794 AB (JCx)
 17                                        DECL. OF KURT C. STRUCKHOFF
                             Plaintiffs,   IN SUPPORT OF APPLICATION
 18                                        FOR LEAVE TO FILE UNDER
      v.
                                           SEAL [DOC. 169]
 19
      NORTHROP GRUMMAN
 20                                        Hon. André Birotte Jr.
      CORPORATION, et al.,
 21
                             Defendants.
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Case 2:16-cv-06794-AB-JC Document 178 Filed 02/05/19 Page 2 of 3 Page ID #:8374



  1   I, Kurt C. Struckhoff, of lawful age, declare as follows:
  2       1. I am one of the attorneys in the law firm of Schlichter, Bogard & Denton
  3   LLP, which represents the Plaintiffs in this case. I am licensed to practice in the
  4   States of Missouri and Illinois, as well as numerous federal courts. I am admitted
  5   pro hac vice in the above-referenced matter. If called as a witness, I could and
  6   would competently testify to the facts set forth below as I know them to be true
  7   based upon my own personal knowledge or upon my review of the records and files
  8   maintained by the firm in the regular course of its representation of Plaintiffs in this
  9   case.
 10       2. In accordance with L.R. 79-5.2.2(b)(i), Plaintiffs submit this Declaration to
 11   maintain the expert report of Plaintiffs’ expert Martin Schmidt under seal. Doc.
 12   169-91 (Exhibit 109); Doc. 170-90 (same). This document was relied on by
 13   Defendants in connection with their Motion for Partial Summary Judgment and
 14   their Statement of Uncontroverted Facts. Defendants filed an Application to file this
 15   document under seal because it contains confidential information about the expert’s
 16   clients and that of third parties and Defendants. Doc. 169; see also Doc. 170 at 8.
 17       3. Plaintiffs designated this report as confidential because it reflects
 18   information that has been designated by Defendants and third parties as
 19   confidential. The report also reflects data on Mr. Schmidt’s clients, including
 20   recordkeeping pricing obtained by those clients with their recordkeepers. See, e.g.,
 21   Exhibit 109 (Exs. 3 – 5 attached to report). For the latter, Plaintiffs respectfully
 22   request that the Court maintain Mr. Schmidt’s report under seal to protect this
 23   information.
 24       4. When clients retain Mr. Schmidt, they have a justified expectation that their
 25   financial and proprietary business information will be kept confidential. Disclosure
 26   of this information would violate these reasonable expectations of privacy.
 27   Although the identities of these clients are not disclosed, should the identity of
 28   these plans be discovered and linked with the specific financial data provided for

      CASE NO. 16-CV-6794 AB (JCX)              -1-                   DECL. OF KURT C. STRUCKHOFF
Case 2:16-cv-06794-AB-JC Document 178 Filed 02/05/19 Page 3 of 3 Page ID #:8375



  1   his clients, it would pose significant harm to both Mr. Schmidt’s clients and his
  2   business. See Doc. 170-90 (Exhibit 109, ¶153). Public disclosure of this
  3   information could materially impact Mr. Schmidt’s ability to attract new clients and
  4   retain existing clients. See id.
  5       5. Given the sensitive nature of this information, Plaintiffs submit that there is
  6   good cause to maintain Mr. Schmidt’s expert report (Exhibit 109) under seal. See
  7   France Telecom S.A. v. Marvell Semiconductor Inc., No. 12-4967, 2014 WL
  8   4965995, at 3 (N.D. Cal. Oct. 3, 2014)(granting application to seal confidential
  9   licensing agreements, pricing data and other technical information). Plaintiffs
 10   submit that the public interest in access to this information is minimal because this
 11   information is not necessary for the public to understand the issues presently in
 12   dispute.
 13      I declare under penalty of perjury under the laws of the United States of
 14   America that the foregoing is true and correct.
 15
 16   Executed on February 5, 2019.
 17                                                  /s/ Kurt C. Struckhoff
 18                                                      Kurt C. Struckhoff
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      CASE NO. 16-CV-6794 AB (JCX)             -2-                  DECL. OF KURT C. STRUCKHOFF
